    Case 1:24-cv-08156-DEH-BCM             Document 1        Filed 10/28/24      Page 1 of 43




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


GLACIAL CAPITAL, LLC and TRSE
HOLDINGS LLC,

                       Plaintiffs,                              24-cv-8156
                                                     Case No. ____________________
       v.

BANCO DE LA PROVINCIA DE BUENOS
AIRES,

                       Defendant.


                                          COMPLAINT

       Plaintiffs Glacial Capital, LLC and TRSE Holdings LLC (“Plaintiffs”), by and through

their attorneys, for their Complaint against defendant Banco de la Provincia de Buenos Aires

(“Banco Provincia” or the “Bank”), allege as follows:

                                       INTRODUCTION

       1.      This is an action for declaratory relief against Banco Provincia pursuant to 28 U.S.C.

§ 2201 and Federal Rule of Civil Procedure 57 to resolve questions of actual controversy involving

the relationship between the Province of Buenos Aires’ (the “Province”) wholly owned bank,

Banco Provincia, and the Province, and in particular, for a determination that Banco Provincia is

the alter ego of the Province. In addition to declaratory relief, Plaintiffs seek a money judgment

holding Banco Provincia liable to satisfy the Province’s unpaid debts to Plaintiffs. Plaintiffs also

seek an order directing Banco Provincia to turn over funds sufficient to satisfy Plaintiffs’

judgments against the Province, including funds from the Province’s master account at the Bank.

       2.      Plaintiffs are the beneficial owners of 10.875% debt securities issued by the

Province in 2011 (the “Notes”). Under the terms of an indenture dated as of January 12, 2006, by



                                                 1
    Case 1:24-cv-08156-DEH-BCM                     Document 1           Filed 10/28/24         Page 2 of 43




and between The Bank of New York as Trustee and the Province as Issuer (the “Indenture”), the

Province is contractually mandated to make principal and interest payments on the Notes. The

Province defaulted on interest payments on the Notes on August 25, 2020, and subsequently

defaulted on principal payments on February 5, 2021.

        3.       Plaintiffs, as beneficial owners of Notes with a principal amount of $25,600,000, 1

brought claims under the Indenture and associated documents before this Court, in an action styled

Glacial Capital, LLC and TRSE Holdings LLC v. The Province of Buenos Aires, Case No. 1:21-

cv-10786-MKV (the “2021 Action”). Plaintiffs’ motion for summary judgment in the 2021 Action

having been granted, Plaintiff obtained, on March 20, 2023, a judgment against the Province in the

amount of $15,627,333.04 in favor of Plaintiff Glacial Capital, LLC, and $19,465,625.37 in favor

of Plaintiff TRSE Holdings LLC, respectively (the “2021 Action Judgment”).2 Since March 20,

2023, the 2021 Action Judgment has been accruing post-judgment interest.

        4.       Furthermore, Plaintiffs, as beneficial owners of an additional $77,639,666 in

principal amount of Notes, brought claims under the Indenture and associated documents before

this Court in an action styled Glacial Capital, LLC and TRSE Holdings LLC v. The Province of

Buenos Aires, Case No. 1:24-cv-04076-JHR (the “2024 Action”). Plaintiffs’ motion for summary

judgment in the 2024 Action having been granted, Plaintiffs obtained, on October 23, 2024, a

judgment against the Province in the amount of $55,037,270.85 in favor of Plaintiff Glacial Capital,

LLC, and $69,760,489.95 in favor of Plaintiff TRSE Holdings LLC, respectively (the “2024

Action Judgment”).3 This is accruing post-judgment interest.



1
    In this Complaint, the principal amount of the Notes refers to the present principal balance thereof, after giving
    effect to amortization payments that were made prior to the Province’s default. The face amount of the Notes
    continues to be their original principal amount, which is three times the present principal balance.
2
    Ex. 1 (2021 Action Judgment).
3
    Ex. 6 (2024 Action Judgment).


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    Case 1:24-cv-08156-DEH-BCM               Document 1        Filed 10/28/24       Page 3 of 43




        5.      Despite the absence of any dispute over the Province’s underlying default, the

Province continues to ignore its obligations, in the hope that its delay will drive Plaintiffs to accept

far less than what they are owed. Faced with the Province’s recalcitrance, Plaintiffs request that

this Court declare Banco Provincia—the Province’s financial agent and wholly owned and

controlled subsidiary tasked as a matter of law with servicing the Province’s debt—to be the

Province’s alter ego, such that its assets may be utilized to satisfy Plaintiffs’ existing judgments.

        6.      An alter ego determination is appropriate here for a number of reasons. The Bank’s

relationship with the Province goes well beyond mere principal-agent. Banco Provincia is not an

independent sovereign instrumentality, but rather a nominal commercial bank that the Province

controls in every way, from its creation as a mere extension of the Province through its day-to-day

operations and its financial affairs. Banco Provincia collects taxes and duties on the Province’s

behalf and services the Province’s debts. The Province dominates the Bank’s governance through

officers and directors who are appointed for their political connections, rather than their merit, and

who implement the Province’s overall and day-to-day directions regardless of whether they accord

with ordinary banking practice or sound commercial management. Thus, the Province dictates not

only the Bank’s overall strategic objectives, as an ordinary shareholder might do, but also its

detailed operational policies, including directing the Bank to offer non-market loan terms to

advance the Province’s political and social goals.

        7.      The Province also exerts economic control over the Bank. The Province forces the

Bank to shoulder the costs of loss-generating social programs unrelated to any ordinary banking

practice or business such that the Bank then becomes dependent on the Province for its financial

survival. Each year, the Province promises to provide infusions of government funds to support

Banco Provincia’s annual budget. And all of Banco Provincia’s debts and other third-party




                                                   3
    Case 1:24-cv-08156-DEH-BCM               Document 1        Filed 10/28/24      Page 4 of 43




obligations are guaranteed by the Province as a matter of law. This statutory guarantee goes well

beyond the limited guarantee of bank deposits that other governments sometimes provide. And

yet, despite its publicly announced obligations to support the Bank, all too often the Province offers

up its own debt to shore up the Bank’s finances, which the Bank accepts and books as if it were

cash, contrary to both ordinary commercial and accounting practices. Again, these are not the acts

of independent entities.

        8.      Given the Province and Banco Provincia’s tightly entwined relationship, treating

them as separate entities would give rise to fraud and result in injustice. In fact, while the Province

refuses to pay its obligations, Banco Provincia, its financial agent on the Notes, continues to

maintain and utilize correspondent accounts at banks in New York. In other words, the Province

continues to shirk its obligations but nonetheless benefits from access to the United States financial

system and New York law by hiding behind the Bank.

        9.      A judgment creditor of a foreign sovereign may look to an instrumentality of the

sovereign debtor for satisfaction of a judgment either when the instrumentality is so extensively

controlled by its owner that a relationship of principal and agent is created, or when giving effect

to the ostensibly separate legal status of the state and its instrumentality would work a fraud or

injustice. Both tests are satisfied here.

        10.     Courts often consider five factors in their analysis of a state instrumentality’s

separateness from its sovereign owner: (1) the degree to which governmental officials manage the

entity or otherwise have a hand in its daily affairs; (2) the level of economic control by the

government; (3) whether the entity’s profits go to the government; (4) whether the government is

the real beneficiary of the entity’s conduct; and (5) whether adherence to separate identities would

entitle the foreign state to benefits in United States courts while avoiding its obligations. While




                                                  4
    Case 1:24-cv-08156-DEH-BCM              Document 1        Filed 10/28/24      Page 5 of 43




these factors are not a mechanical formula for determining extensive control, they all lead to the

conclusion here that the Province and the Bank are alter egos, not distinct and truly separate legal

entities.

        11.    Separately, because Banco Provincia is subject to jurisdiction in this District, based

on, among other things, its own repeated use of correspondent accounts in New York for

commercial purposes, including servicing the Notes and other debts of the Province, this Court

can order the Bank to turn over assets of the Province, which has waived execution immunity, in

satisfaction of Plaintiffs’ judgments.

        12.    Put simply, Banco Provincia is the alter ego of the Province, dominated thoroughly

by the Province and tasked with holding and shielding the Province’s financial assets from foreign

execution. As such, Banco Provincia is liable to Plaintiffs and its assets can and should be available

to Plaintiffs in satisfaction of their judgments in the 2021 Action and 2024 Action.

                                             PARTIES

        13.    Plaintiff Glacial Capital, LLC is a limited liability company organized and existing

under the laws of the State of Delaware with a registered office address at c/o Cogency Global Inc.,

850 New Burton Road, Suite 201, Dover, Delaware 19904.

        14.    Plaintiff TRSE Holdings LLC is a limited liability company organized and existing

under the laws of the State of Delaware with a registered office address at c/o United Corporate

Services, Inc., 874 Walker Rd, Suite C, Dover, Delaware 19904.

        15.    Defendant Banco de la Provincia de Buenos Aires is a bank that is wholly owned

by the Province of Buenos Aires, headquartered at San Martin 137 Ciudad Autónoma de Buenos

Aires, Argentina.




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    Case 1:24-cv-08156-DEH-BCM                     Document 1          Filed 10/28/24         Page 6 of 43




        16.      Non-Party Judgment Debtor the Province of Buenos Aires is a political subdivision

of the Republic of Argentina, as defined by the Foreign Sovereign Immunities Act (“FSIA”), 28

U.S.C. § 1603(b). It is therefore a foreign state for purposes of the FSIA.

                                      JURISDICTION AND VENUE

        17.      This Court has subject-matter jurisdiction over this matter pursuant to 28 U.S.C.

§ 1330(a) and 28 U.S.C. § 1367, because this is a “nonjury civil action against a foreign state” on

a claim “with respect to which the foreign state is not entitled to immunity” under the FSIA, 28

U.S.C. § 1330(a).4

        18.      Banco Provincia is a “foreign state” as defined in 28 U.S.C. § 1603 because it is

“an agency or instrumentality of” the Province, which is itself a political subdivision of the

Argentine Republic. Under 28 U.S.C. §§ 1605(a)(1) and 1605(a)(2), Banco Provincia is not

immune from the subject-matter jurisdiction of this Court.

        19.      Pursuant to § 1605(a)(1) of the FSIA, a purported instrumentality such as Banco

Provincia is not entitled to immunity in an action to enforce a U.S. judgment because the Bank is

the alter ego of the Province, and the Province has waived its sovereign immunity as to both

jurisdiction and enforcement with respect to the Notes, including under Section 9.7 of the

Indenture, in which the Province expressly and unconditionally waived sovereign immunity (both

immunity as to jurisdiction and immunity as to enforcement).

        20.      Specifically, Section 9.7 of the Indenture states:

                 To the extent that the Province may in any jurisdiction claim for itself or
                 its assets or revenues . . . sovereign or other immunity from suit, execution,
                 attachment (whether in aid of execution, before judgment or otherwise) or
                 other legal process, the Province agrees not to claim and irrevocably
                 waives such immunity in respect of its obligations under this Indenture or

4
    See Verlinden B.V. v. Cent. Bank of Nigeria, 461 U.S. 480, 497 (1983) (holding that “every action against a
    foreign sovereign necessarily . . . ‘arises under’ federal law”).


                                                         6
    Case 1:24-cv-08156-DEH-BCM               Document 1        Filed 10/28/24      Page 7 of 43




                 the Debt Securities of any Series to the fullest extent permitted by the laws
                 of such jurisdiction.5

As the Province’s alter ego, that waiver extends not only to the Province, but to Banco Provincia.

        21.      This Court also has jurisdiction over Banco Provincia as the alter ego of the

Province, because this action “aris[es] out of or relat[es] to the Debt Securities of a Series or the

Indenture,” which the Province agreed to “submit[] to the non-exclusive jurisdiction of any U.S.

federal or New York state court sitting in the Borough of Manhattan, City of New York.” 6 The

same text appears in Section 13 of the form Terms and Conditions. 7

        22.      Moreover, pursuant to § 1605(a)(2), Banco Provincia is not immune because this

action is based on (i) Banco Provincia’s commercial activity in the United States; (ii) at least one

act performed by Banco Provincia in the United States in connection with its commercial activity

elsewhere; and/or (iii) at least one act committed outside the territory of the United States in

connection with Banco Provincia’s commercial activity elsewhere, where that act caused a direct

effect in the United States.

        23.      Alternatively, this Court has subject matter jurisdiction under 28 U.S.C. § 1332, as

the amount at issue exceeds $75,000, and there is complete diversity among the parties.

        24.      This Court has personal jurisdiction over Banco Provincia pursuant to 28 U.S.C.

§ 1330(b), which allows the exercise of personal jurisdiction over a foreign state that is not immune

from suit and that has been properly served with process pursuant to 28 U.S.C. § 1608.

        25.      This Court also has personal jurisdiction over Banco Provincia pursuant to Federal

Rule of Civil Procedure 4(k)(1)(A), which permits this District to exercise personal jurisdiction to

the extent allowed by New York statutes. New York’s C.P.L.R. § 302 provides jurisdiction over


5
    Ex. 2 (Indenture) at § 9.7.
6
    Ex. 2 (Indenture) at § 9.7.
7
    Ex. 2 (Indenture) at Ex. C § 13.


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    Case 1:24-cv-08156-DEH-BCM              Document 1        Filed 10/28/24      Page 8 of 43




Banco Provincia because it transacted business in New York by, among other things, maintaining

correspondent accounts at U.S. financial institutions located in New York, using those accounts to

service the debts of the Province as fiscal agent for the Province, including in connection with pre-

default payments on the Notes and serving as the Province’s agent for service of process for claims

arising under or related to the Notes. At the time of the issuance of the Notes, the Bank maintained

an office in this District. That office remained in place until at least 2019, and to this day, Banco

Provincia maintains its own agent for service of process in New York.

       26.     Venue is proper in this District because the Province, and thereby Banco Provincia,

expressly waived “any objection to venue or defense of an inconvenient forum” in Section 9.7 of

the Indenture and the Terms and Conditions applicable to the Notes. Alternatively, to the extent

there is no judicial district in which this action may otherwise be brought, venue is proper in this

District because this Court has personal jurisdiction over both the Province and Banco Provincia.

       27.     With respect to Plaintiffs’ alter ego claims, venue is proper in this District under 28

U.S.C. § 1391(f)(3) because Banco Provincia is doing business in this District, including through

its ongoing and deliberate use of correspondent bank accounts.

       28.     Venue is also proper in this District under 28 U.S.C. § 1391(f)(1) because a

substantial part of the events or omissions that gave rise to Plaintiffs’ claims under the Notes,

including the Province’s failure to make payment as required and the Bank’s failure to service the

Province’s debts took place in this District.

                                   FACTUAL ALLEGATIONS

       29.     The present action arises out of the Province’s non-payment of certain contractually

mandated payments on Plaintiffs’ Notes, in breach of the governing Indenture and the express

terms of the Notes. Such non-payment has resulted in two separate judgments against the Province.




                                                 8
     Case 1:24-cv-08156-DEH-BCM            Document 1        Filed 10/28/24      Page 9 of 43




       30.     As described below, the Province dominates Banco Provincia to such an extent that

the Bank does not exist or operate as an independent instrumentality. Instead, the Bank operates

as the Province’s agent, tasked with performing core governmental functions. Banco Provincia,

which was created as a commercial bank and not a governmental agency, operates not only in the

service of the Province’s broader economic policy objectives, but it is the vehicle by which the

Province directs specific projects designed for political ends—political ends that are underwritten,

either directly or indirectly, by the Bank to the detriment of the Bank’s own commercial interests.

Because the Province controls everything from the Bank’s funding to its financial policies to its

leadership, the Province’s influence over Banco Provincia goes far beyond that of normal

supervisory control or the espousal of generalized corporate goals that may be expected of a

shareholder or from mere State oversight of a separate state instrumentality. The Bank is the

Province’s alter ego.

A.     The Province’s Breach of the Indenture and Subsequent Litigation

       31.     Plaintiffs are the beneficial owners of Notes of an aggregate principal amount of

$103,239,666, of which $25,600,000 was the subject of the 2021 Action and the balance was the

subject of the 2024 Action.

       32.     The Province issued the Notes in 2011. The Notes provided for (i) semi-annual

payment of interest and (ii) payment of principal in three installments. The Notes matured on

January 26, 2021.

       33.     Since July 26, 2020, the Province has failed to make the contractually mandated

interest and principal payments. The Bank’s failures to pay amounted to Events of Default under

the Indenture and the Notes.




                                                 9
     Case 1:24-cv-08156-DEH-BCM              Document 1        Filed 10/28/24     Page 10 of 43




         34.      Plaintiffs brought a breach of contract action before this District on December 16,

2021, Glacial Capital, LLC and TRSE Holdings LLC v. The Province of Buenos Aires, Case No.

1:21-cv-10786.

         35.      On March 20, 2023, this Court entered a judgment in favor of Plaintiffs. Judgment

was entered against the Province in the amount of $15,627,333.04 in favor of Plaintiff Glacial

Capital, LLC, and in the amount of $19,465,625.37 in favor of Plaintiff TRSE Holdings LLC. 8

The judgment includes prejudgment interest through the date of entry. Post-judgment interest

continues to accrue.9

         36.      Plaintiffs brought a second breach of contract action—the 2024 Action—before this

District on May 28, 2024, Glacial Capital, LLC and TRSE Holdings LLC v. The Province of Buenos

Aires, Case No. 1:24-cv-04076-JHR.

         37.      On October 23, 2024, this Court entered a second judgment in favor of Plaintiffs.

Judgment was entered against the Province in the amount of $55,037,270.85 in favor of Plaintiff

Glacial Capital, LLC, and in the amount of $69,760,489.95 in favor of Plaintiff TRSE Holdings

LLC. The judgment includes prejudgment interest through the date of entry. Post-judgment

interest is accruing.10

         38.      As of this filing, the Province has failed to pay one penny of either judgment.

         39.      This action seeks to remedy the Province’s ongoing misconduct and non-payment

of its obligations pursuant to the recorded judgments of this Court.




8
     Supra ¶ 3.
9
     Id.
10
     Supra ¶ 4.


                                                   10
     Case 1:24-cv-08156-DEH-BCM            Document 1        Filed 10/28/24      Page 11 of 43




B.      Banco Provincia Is the Alter Ego of the Province

        40.     It is well established that the purported separateness between a sovereign (or

political subdivision thereof, such as the Province) and an instrumentality can and should be

disregarded where the sovereign’s extensive control of its instrumentality demonstrates that the

separation is a fiction.

        41.     The Province’s extensive control over Banco Provincia is undeniable, and the facts

presented below more than satisfy the standard articulated by the Supreme Court in First Nat’l

City Bank v. Banco Para El Comercio Exterior de Cuba, 462 U.S. 611 (1983) (“Bancec”), which

typically considers: (1) the level of economic control by the government; (2) whether the entity’s

profits go to the government; (3) whether the government is the real beneficiary of the entity’s

conduct; (4) the degree to which governmental officials manage the entity or otherwise have a

hand in its daily affairs; and (5) whether adherence to separate identities would entitle the foreign

state to benefits in United States courts while avoiding its obligations. While there is no

mechanical formula for determining when the separate status of a government instrumentality is

to be disregarded, here, all the traditional Bancec factors plainly and robustly demonstrate that

Banco Provincia is the alter ego of the Province.

        42.     First, the Province exerts a high level of economic control over Banco Provincia.

The Bank is wholly owned by the Province, which treats it as an extension of the government, not

a true, separate instrumentality.     Consistent with that treatment, the Bank is subject to

extraordinarily intrusive government management while being awarded special privileges not

applicable to other banks operating in the Province.

        43.     Second, the Province absorbs the Bank’s profit and losses. The Province dictates

the Bank’s spending on the Province’s political projects such that the Province bears the Bank’s




                                                 11
   Case 1:24-cv-08156-DEH-BCM                Document 1       Filed 10/28/24      Page 12 of 43




operating losses, brought upon the Bank, at least in part, by the same loss-generating projects that

the Province dictates but fails to fully fund. Thus, while the Province ostensibly guarantees all the

Bank’s obligations to third parties by law, allocates part of its budget every year to Banco Provincia,

and even steps in to provide financial support to the Bank as needed, that financial support often

comes not in the form of real currency, but rather as debt commitments and other promises of

future payments that the Bank, in an unreasonable departure from ordinary commercial practice

that no arms-length party would emulate, treats at full face value.

        44.     Third, Banco Provincia acts as a mere extension of the Province, which is the real

beneficiary of Banco Provincia’s conduct. The Bank is the Province’s fiscal agent, collecting its

fiscal revenues and taxes and servicing the Province’s public debt, among scores of other tasks

typically within the purview of, and performed directly by, a government. And the Bank provides

these purported services without charge. The Bank serves as the Province’s piggy bank into which

the Province collects, stores and removes funds at will. The Province further uses—and benefits

from using—the Bank to implement and advance its political policies and programs. The Province

imposes commercially unsound programs to be implemented by the Bank that serve only to bolster

the Province’s political agenda. The Province also uses the Bank’s property, including office space

and vehicles, as if it were its own and for its benefit.

        45.     Fourth, Provincial government officials manage the Bank and control its day-to-

day operations. As detailed below, the Governor of the Province appoints Banco Provincia’s Board

of Directors, which is dominated by political allies who use the Bank to implement the Province’s

pet policies, including implementing programs that require the Bank to make non-market loans

based on political, rather than commercial, criteria. These policies are not the result of the




                                                  12
   Case 1:24-cv-08156-DEH-BCM              Document 1       Filed 10/28/24      Page 13 of 43




operations of an independent instrumentality operating under its charter, but rather political

spending, including programming imposed upon the Bank by the current Provincial government.

       46.     Fifth, Banco Provincia and the Province’s refusal to observe corporate formalities

or otherwise function as true separate entities renders the distinction between them a fiction, and

respecting their purported separateness would inequitably allow the Province to shield its financial

assets from creditors while continuing to benefit from its use of the Bank as its catspaw, including

for continued access to the U.S. financial system. Banco Provincia collects and holds the

Province’s tax revenues and spends them at the Province’s direction. By using the Bank as a

collection and paying agent for essentially all of the Province’s finances, the Province has created

a “cut out” that allows it to access the New York banking system while evading its lawful

obligations. At the same time, the Province itself does not recognize the Bank’s separateness, as

the Bank’s Charter and enabling legislation require the Province to guarantee payment of any

obligation of the Bank, including any judgment that might be entered against Banco Provincia here.

It would, as a result, be inequitable to treat Banco Provincia as a separate corporate entity when

the Province does not treat it the same way.

       1.      Banco Provincia Is Subject to the Province’s Economic Control

       47.     The Province’s high level of economic control over Banco Provincia is

demonstrated, first, by Province’s treatment of the Bank as an arm of the Provincial government;

second, by Provincial law, which subjects the Bank to the Province’s control; third, by the Bank’s

role as financial agent for the Province; and fourth, by the Argentine courts’ repeated recognition

of Banco Provincia’s status as a Provincial state entity.




                                                 13
     Case 1:24-cv-08156-DEH-BCM                 Document 1         Filed 10/28/24        Page 14 of 43




                 a.       Banco Provincia Is an Agent of the Provincial Government

         48.     Banco Provincia is a wholly owned government bank created by Provincial law.

This relationship predates the founding of the Argentine Republic. In fact, one of the Province’s

conditions to joining the new nation was that Banco Provincia would remain subject to the

Province’s ownership and control and be exempt from the national government’s regulations and

oversight that are applicable to all other Argentine banks. 11

         49.     Banco Provincia remains under the Province’s ownership and control to this day,

reflecting the Province’s “interest in retaining the full and perpetual freedom to manage its

provincial bank, so useful for its financial interests and economic needs of its people.” 12 The

Province’s control extends to both the Bank’s management and its finances, including by dictating

the Bank’s spending. The lack of financial independence is further demonstrated by the Province

guaranteeing all the Bank’s debts.13

         50.     In fact, despite having its own Board of Directors—appointed by the Governor of

the Province as further explained below 14 —the Bank is subject to direct oversight from the

Ministry of Economy of Buenos Aires. 15 Under the implementing legislation and the Bank’s

Charter, the Ministry of Economy of Buenos Aires is responsible for managing Banco Provincia’s

relationship with the Executive Branch of the Province. 16

         51.     As an arm of the Government, the Province provides Banco Provincia special

treatment not afforded to other financial institutions. For example, unlike the case with other banks,

the Province does not tax dividends paid on Banco Provincia’s shares. While taxes may not be



11
     See Ex. 5 (Notes Prospectus) at 100.
12
     Banco de la Provincia de Buenos Aires c/Nación [Supreme Court of Argentina] March 15, 1940, 186:170.
13
     Infra ¶ 72.
14
     Infra ¶¶ 99–101.
15
     Ex. 3 (Provincial Law 9434/79) at Art. 13; see also Ex. 4 (Charter) at Art. 13.
16
     Id.


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     Case 1:24-cv-08156-DEH-BCM              Document 1       Filed 10/28/24      Page 15 of 43




economically necessary in the sense that the Province receives 100% of the dividend regardless of

whether those dividends are taxed or not, the failure to tax is, nevertheless, a disregard of corporate

separateness.17

        52.       Banco Provincia is similarly exempted from Provincial and Argentine laws

governing the conduct and operations of banks generally. Instead, Banco Provincia is “subject to”

audits and budgetary controls issued “by entities created under the provincial Constitution: the

General Accounting Office and the Auditing office of the Province of Buenos Aires.” 18 This is not

the case for any commercial bank operating in the Province of Buenos Aires.

        53.       In other words, the Bank is subject to the economic control of Provincial financial

and political authorities.

                  b.     The Bank Is the Province’s Financial Agent

        54.       Banco Provincia’s relationship with the Province is established in the legislation

that created Banco Provincia, as well as legislation prescribing and enacting the Bank’s corporate

charter. That legislation makes clear that one of the principal functions of the Bank is to act as the

“financial agent of the Government of the Province” and that the Bank is tasked with carrying out

“all banking-type transactions” undertaken by the Provincial government. 19

        55.       As the financial agent for the Province, Banco Provincia is empowered to perform

myriad tasks for the Province on its behalf. For one, Banco Provincia collects fiscal revenues and

taxes on behalf of the Province. 20 Banco Provincia, rather than the Province, also services the

Province’s public debt. 21 And, when the funds collected by the Bank as tax collector for the



17
     Ex. 3 (Provincial Law 9434/79) at Art. 4; see also Ex. 4 (Charter) at Art. 4.
18
     Note 1, Notes to the Consolidated Financial Statements, BANCO PROVINCIA (Dec. 31, 2021),
     https://www.bancoprovincia.com.ar/content/EEFF/ing_EEFF_unificado_31122021.pdf.
19
     Ex. 3 (Provincial Law 9434/79) at Art. 9; see also Ex. 4 (Charter) at Art. 9.
20
     Ex. 3 (Provincial Law 9434/79) at Art. 9; see also Ex. 4 (Charter) at Art. 9.
21
     Ex. 3 (Provincial Law 9434/79) at Art. 9(b); see also Ex. 4 (Charter) at Art. 9(b).


                                                  15
     Case 1:24-cv-08156-DEH-BCM                     Document 1           Filed 10/28/24    Page 16 of 43




Province are insufficient to cover the Province’s contractual obligations, “the Bank may advance

the necessary funds [from its own assets] and reimburse itself . . . afterwards[.]” 22 By law and in

practice, the Province reaches into the Bank as if it would into its own pockets. Banco Provincia

does not function as a distinct and separate entity working at arm’s length from the Province.

         56.      Banco Provincia also grants guarantees and carries out directives for transactions

undertaken by the Province.23 Put simply, Banco Provincia carries out duties and functions that

are typically reserved for the Provincial government to exercise itself—rendering Banco Provincia

(by and through its conduct) indistinguishable from the Province itself.

         57.      In addition to its role within the boundaries of the Province, Banco Provincia acts

as the Province’s agent in international transactions. With respect to the Notes, for example, the

Indenture between Banco Provincia and Bank of New York states that “[t]he Province has

appointed Banco de la Provincia de Buenos Aires . . . as its agent (the ‘Authorized Agent’) to

receive on behalf of itself and its property service of any summons and complaint.” 24

         58.      Reflective of the financial ties between the Province and Banco Provincia,

substantial portions of the offering documents for the Notes are devoted to discussions of Banco

Provincia, including its fundamental role in the finances of the Province and the operation of the

Provincial government more broadly.

         59.      The offering documents for the Notes also explain that “Banco Provincia is also the

exclusive paying agent of the Province, handling payments of civil servants’ wages and salaries

and pension and retirement benefits, as well as payments to the Province’s creditors. In addition,




22
     Ex. 3 (Provincial Law 9434/79) at Art. 9(b); see also Ex. 4 (Charter) at Art. 9(b).
23
     Ex. 3 (Provincial Law 9434/79) at Art. 9(c); see also Ex. 4 (Charter) at Art. 9(c).
24
     Ex. 2 (Indenture) at § 9.7.


                                                           16
     Case 1:24-cv-08156-DEH-BCM                 Document 1         Filed 10/28/24        Page 17 of 43




Banco Provincia is the exclusive agent for judicial deposits related to non-federal cases in

provincial courts.”25

         60.     Offering documents also include Banco Provincia in the definition of “Public

Sector Instrumentality,” which definition expressly includes “any department, ministry or agency

of the government of the Province.” In other words, Banco Provincia is not an independent

commercial bank, but rather an extension of the Province itself that is subject to the day-to-day

whims of the Provincial government.

                 c.       Argentine Courts Repeatedly Confirm That Banco Provincia Is Part of
                          the Provincial Government

         61.     Argentine courts, both at the Provincial and federal level, including the Supreme

Court of Argentina, have repeatedly and routinely confirmed that Banco Provincia is a State entity

and part of the Provincial government.

         62.     The Supreme Court of Argentina has recognized Banco Provincia as an entity akin

to “a State institution” rather than a private bank. As the Supreme Court of Argentina explained

in Banco de la Provincia de Buenos Aires c/Nación, Banco Provincia’s “attributes” are not those

of a commercial bank but rather “define and shape a State institution and not a particular bank in

which its constituents or founders contribute capital for the purpose of creating a corporation

authorized under the Commerce Code, to carry out known and common banking operations.” 26

         63.     Argentine courts have also exempted Banco Provincia from Provincial taxes and

fines, reasoning that imposing such payment obligations on the Bank would impose an economic

burden on the Province.




25
     Ex. 5 (Notes Prospectus) at 100 (emphasis added).
26
     Banco de la Provincia de Buenos Aires c/Nación [Supreme Court of Argentina] March 15, 1940, 186:170.


                                                      17
     Case 1:24-cv-08156-DEH-BCM                 Document 1          Filed 10/28/24        Page 18 of 43




         64.     For example, in Banco de la Provincia de Buenos Aires v. Municipality of Arrecifes,

before the Administrative Contention Claim of La Plata, the court held that Banco Provincia should

be exempt from taxes and fees imposed by a Provincial municipality because the municipality

should not be allowed to “interfere[] with the economic-political, etc. management of the

Province.” As that court also noted, “several precedents of th[at] court” had found Banco

Provincia to “constitute [a] true bod[y] of the State.” 27 In other words, the court rejected the

imposing of taxes and fines on the Bank, because imposing a fine on the Bank would be no

different that imposing a fine on the Province itself.

         65.     In reaching that conclusion, the court adopted Banco Provincia’s own arguments.

Specifically, in Banco de la Provincia de Buenos Aires v. Municipality of Arrecifes, Banco

Provincia argued to the administrative court that “the Bank, its assets, acts, contracts, or operations

it undertakes, and the rights resulting therefrom, are exempt from any form of tax,” because in the

words of the Bank, Banco Provincia “is the State itself: it is the Provincial State Bank.”28

         66.     Furthermore, Argentine courts treat Banco Provincia employees as public

employees or public officers, and subject them to the corresponding rights and obligations as other

government employees under Provincial law.29

         67.     Consistent with the fact that the Bank is not a separate, independent commercial

enterprise, the Province’s administrative court for public employees has jurisdiction over disputes

between Banco Provincia and its employees—not the courts tasked with interpreting and applying

private law, which courts decide disputes between employees and true commercial employers. 30



27
     See Ignacio Monica Rosana c/ Banco de la Provincia de Buenos Aires s/ Pretensión Indemnizatoria – Empleo
     Público - Cuestión De Competencia Art. 7 Ley 12.009, Supreme Court of the Province of Buenos Aires
     (emphasis added).
28
     Id. (emphasis added).
29
     Id.
30
     Id.


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     Case 1:24-cv-08156-DEH-BCM              Document 1       Filed 10/28/24     Page 19 of 43




           68.    Argentine courts have also found that contract disputes with Banco Provincia

should be resolved in the same administrative courts that handle other cases against the Provincial

government and not the civil courts that would have jurisdiction if Banco Provincia were a private

entity.

           2.     The Province Absorbs Banco Provincia’s Losses and Guarantees Its
                  Obligations

           69.    Banco Provincia is not an independent economic actor, but rather a tool for the

Province to further its political goals without regard for whether the activities required by the

Province are profitable. When the burden of carrying out the Province’s agenda becomes too much

for the Bank to bear, the Province steps in and provides financial support to Banco Provincia, at

least on paper.

           70.    The finances of the Bank and the Province are intertwined as Banco Provincia’s

profits and losses have a direct impact on the Province’s financial and fiscal health. The Province

dictates that Banco Provincia, though undercapitalized, engage in politically motivated non-

commercial endeavors, such that Banco Provincia relies on the Province to fund business expenses.

The Province has consistently failed to finance its own pet projects. And rather than adequately

capitalize the Bank, over the last several years the Province has directed an average of 4% of its

annual budget to fund the Bank’s own budget so as to help maintain its solvency.

           71.    Notably, during the financial crises of the 2000s, the Province repeatedly combined

the Province’s public debt with that of Banco Provincia to create comingled obligations. The

Province has also been forced to take direct ownership of many of Banco Provincia’s non-

performing loans.31




31
     Id.


                                                  19
     Case 1:24-cv-08156-DEH-BCM               Document 1         Filed 10/28/24       Page 20 of 43




         72.     By statute, the Province guarantees all of Banco Provincia’s obligations. This

guarantee is not limited in amount, time, type of obligation, location of incurrence, location, or

type of obligee. Indeed, the guarantee extends even to Banco Provincia’s obligations incurred by

its branches abroad. Fitch Ratings Inc., one of the largest credit rating agencies in the world,

confirms that Banco Provincia’s “liabilities (including those of its branches abroad) are guaranteed

by the Province of Buenos Aires.”32

         73.     This guarantee goes far beyond the limited guarantee governments sometimes

provide on local bank deposits. It also imposes an obligation to fund the Bank far beyond the

capital contributions that might be required of shareholders (on a case-by-case basis pursuant to

specific contracts—something very different than the Province’s blanket guarantee). As a result

of this free total guarantee, the Bank’s expenditures and losses are really the Province’s

expenditures, resulting in a commingling of their finances.

         74.     The Province readily admits its obligation to support Banco Provincia in multiple

debt offerings, including in statements made in debt prospectuses issued in October 2005, April

2007, January 2011, June 2015, July 2015, March 2016, June 2016 (two separate offerings),

August 2016, October 2016, November 2016, February 2017, and March 2017. As stated in the

Province’s July 13, 2017 offering memorandum, for example, the Province is required by law “to

make payments to Banco Provincia’s creditors if Banco Provincia fails to meet its payment

obligations.”

         75.     The Province has repeatedly noted this payment obligation in its other debt

offerings as well. The Province reaffirmed its obligation to finance the Bank and ensure the




32
     Fitch Affirms Provincia Casa Financiera at ‘CCC-’, FITCHRATINGS (Apr. 18, 2024),
     https://www.fitchratings.com/research/banks/fitch-affirms-provincia-casa-financiera-at-ccc-18-04-2024.


                                                    20
     Case 1:24-cv-08156-DEH-BCM              Document 1       Filed 10/28/24      Page 21 of 43




solvency of Banco Provincia in more recently issued prospectuses, including those in April 2020

and October 2021.

         76.      Beyond guaranteeing Banco Provincia’s debts, the Province has historically treated

the Bank’s obligations as its own. This is not simply a theoretical obligation. Rather, the

Province’s obligation to support Banco Provincia and guaranty its obligations has been called upon

many times. For example, Provincial Law No. 12,509 authorized the Province to consolidate the

Provincial public debt with Banco Provincia’s debt. As the Province explained in the prospectus

for the Notes, the “Province has made contributions and provided support to, and entered into

transactions with Banco Provincia to ensure the solvency of, Banco Provincia.” 33

         77.      And, in the same prospectus, the Province explained that it “cannot assure

[investors] that it will not be required to provide further financial or other support to Banco

Provincia, which could lead to substantial unbudgeted expenditures and liabilities, undermine the

Province’s public finances and adversely affect its ability to service its debt obligations, including

the New Bonds.”34 In other words, there is no meaningful separation between the Bank’s finances

and the Province’s finances.

         78.      Consistent with this ongoing obligation, substantial portions of the Province’s debt

offerings over the last 20 years are dedicated to discussions of Banco Provincia and its financials,

because the financial condition of the Province is totally intertwined with the financial condition

of the Bank.

         3.       The Province Is the Real Beneficiary of the Bank’s Conduct

         79.      Many of the core functions of Banco Provincia are governmental and inextricably

intertwined with the operation of the Province. For instance, Banco Provincia performs duties and


33
     Ex. 5 (Notes Prospectus) at 16.
34
     Id.


                                                   21
     Case 1:24-cv-08156-DEH-BCM                     Document 1           Filed 10/28/24   Page 22 of 43




obligations on the Province’s behalf, serves as the Province’s tax authority and treasury and issues

payments for obligations in fact owed by the Province. In a blatant disregard of corporate

separateness, Banco Provincia does not charge the Province for these services.

         a.       Banco Provincia Performs Governmental Duties and Obligations

         80.      As the Province’s financial agent, 35 Banco Provincia carries out tasks that are

typically reserved for government branches such as the Treasury or Ministry of Economy. Banco

Provincia performs these governmental actions not at the independent direction of the Bank’s

executives or Board of Directors but instead at the direction of the Province itself.

         81.      For example, the Bank “collect[s] [] revenues and taxes” and “service[s] [] the

Province’s public debt,” based on “the instructions given annually by the Minister of the

Economy.”36

         82.      For transactions undertaken by the Province, Banco Provincia is also tasked with

“grant[ing] guaranties [and] undertak[ing] transactions that in substance imply a guarantee . . . and

if the Bank has to meet the commitments entailed in its guarantee, it will be authorized to take the

respective funds from the [Province’s] taxes and revenue received.” 37 There is barely the veneer

of separation between the assets of Banco Provincia and the Province.

         83.      While Banco Provincia is tasked with collecting taxes, duties and other funds of the

Province—including the proceeds of debt offerings such as issuance of the Notes upon which the

2021 Action and 2024 Action judgments are based—and maintaining those funds on behalf of the

Province, Banco Provincia receives no compensation for this service, again demonstrating the

Province’s dominion over the Bank. 38


35
     See supra ¶¶ 54–60.
36
     Ex. 3 (Provincial Law 9434/79) at Art. 9; see also Ex. 4 (Charter) at Art. 9.
37
     Id.
38
     Ex. 3 (Provincial Law 9434/79) at Art. 6; see also Ex. 4 (Charter) at Art. 6.


                                                          22
     Case 1:24-cv-08156-DEH-BCM                   Document 1           Filed 10/28/24         Page 23 of 43




                  b.       The Province Uses Banco Provincia to Restructure Its Debt, Often at a
                           Loss to the Bank

         84.      The Province regularly alters the terms of its purported “debt” to Banco Provincia

so that the Province can repay it on more favorable terms.

         85.      For example, in 2021, pursuant to Provincial Resolution 435/2021, obligations of

the Province to Banco Provincia were to be paid over a period of 24 months on an interest-free

basis, during a period of high inflation—ranging from 50% in 2021 to 211% in 2023. At the same

time the Bank was charging the Province no interest, far safer obligations bore very high rates of

interest. For example, Argentina’s Monetary Policy Interest Rate ranged from almost 32% in July

2021 to more than 90% in July 2023;39 “Interest Rates on Overnight Repo Transactions for the

BCRA [the Republic of Argentina’s Central Bank]” ranged from 42.7% in July 2021 to 116.0% in

July 2023; and “Interest Rates on 30-Day Deposits with Financial Institutions” ranged from 34.3%

in July 2021 to 93.6% in July 2023.40

         86.      The Province itself acknowledges that it has historically received favorable

restructuring terms at the expense of Banco Provincia through what it calls a “favorable”

“regularizing process.”41 The Bank does so because it is completely controlled by the Province.

         87.      The Province has also used the Bank’s assets to effectively pay the Province’s debt

to its own vendors. For example, in 2009, the Ministry of Economy of the Province dictated a

process by which suppliers who held receivables payable by the Province could apply to the

Treasury of the Province for a Provisional Loan Certificate (“PLC”). The suppliers could then




39
     Argentina Policy Rate, CEIC, https://www.ceicdata.com/en/indicator/argentina/policy-rat (last visited Oct. 17,
     2024).
40
     Main Variables, BANCO CENTRAL DE LA REPÚBLICA ARGENTINA,
     https://www.bcra.gob.ar/PublicacionesEstadisticas/Principales_variables_i.asp (last visited Oct. 20, 2024).
41
     Economia, GOBIERNO DE LA PROVINCIA DE BUENOS AIRES,
     https://www.gba.gob.ar/economia/provincial_office_debt_and_public_credit (last visited Sept. 25, 2024).


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   Case 1:24-cv-08156-DEH-BCM               Document 1      Filed 10/28/24      Page 24 of 43




take their PLC to Banco Provincia, which was obligated to grant loans quickly and at preferential

rates—effectively using the Bank’s assets to pay the Province’s debts. The PLCs allegedly acted

as collateral, guaranteed by the Province. This program was reinstated in 2020 when the Province

was again unable to pay its creditors itself.

               c.      The Province Regularly Funds Its Obligations to the Bank With Non-
                       Market Debt Rather than Cash

         88.   On many occasions when the Province has been required to step in and support

Banco Provincia financially, it has done so by issuing Provincial debt bonds or similar instruments

that defer actual monetary payment to Banco Provincia or Banco Provincia’s creditors for many

years.

         89.   The Province routinely supports the Bank from a bookkeeping perspective by

providing funding in the form of bonds and other debt instruments, thereby giving the Bank

receivables that it can treat as assets without money truly changing hands, thereby further

undermining the purported separate finances of the Province and the Bank. Moreover, the Bank

appears to value these bonds at face value on issuance, without any accounting for the fact that the

Province’s debt is treated by third parties, including ratings agencies, as high risk and subject to

substantial discounts when traded.

         90.   No independent bank or any other commercial entity acting at arms-length would

ever agree to accept the Province’s debt on these terms.

               d.      The Province Treats the Bank’s Property as Its Own

         91.   The Province treats the Bank’s physical assets as its own, taking them at will.

         92.   Banco Provincia also provides the Province with office spaces and cars at no cost.

         93.   For example, in December 2022 Banco Provincia granted a “comodato” that

retroactively provided (and continues to provide) the Eighth Floor of 402/30 Bartolome Mitre


                                                24
     Case 1:24-cv-08156-DEH-BCM             Document 1        Filed 10/28/24      Page 25 of 43




Street in Buenos Aires for the use of the Ministry of Treasury and Finance. This comodato is, in

effect, a zero-cost lease to the Province. Similar comodatos have been (and continue to be) granted

for the 12th Floor of a building located at San Martin, 2563/83, Mar del Plata, District of

Pueyrredon, this time for the benefit of the Cultural Institute of the Province of Buenos Aires, as

well as for additional spaces. Historically, Banco Provincia has provided the use of vehicles to the

Province under similar comodatos as well.

         94.     The Province’s debt offerings demonstrate the Province’s recognition that the

Bank’s assets are the Province’s assets, by, among other things, expressly providing that Banco

Provincia’s holdings of the Province’s debt are to be treated as though they are held by the Province

directly for purposes of debtholder decisions, such as restructuring of the Notes or other debts.

         95.     Because it is completely controlled by the Province, the Bank charges nothing for

the real estate and services provided to the Province. This non-payment cannot be justified simply

by pointing to the Bank’s status as a subsidiary of the Province. By providing myriad services for

no compensation whatsoever—not even reimbursement of the operating costs—the Bank allows

the Province to benefit at the expense of the Bank and its separate finances. This is a blatant

disregard of the corporate form.

         4.      The Province Controls the Bank’s Operations

         96.     The Province dictates critical aspects of the Bank’s day-to-day operations, further

demonstrating that the Bank is not an ordinary financial institution, nor even an independent

sovereign instrumentality, but rather an arm and agent, and thereby alter ego, of the Province. 42

         97.     In addition to its power over the Bank’s finances, the Province exercises its control

through its dominion over Banco Provincia’s leadership. The Province can and does not only



42
     See supra ¶¶ 48–53.


                                                  25
     Case 1:24-cv-08156-DEH-BCM             Document 1       Filed 10/28/24      Page 26 of 43




select but also directs the Bank’s leadership. To ensure that the Bank operates at the whims of the

Province, the Province uses its appointment power to prioritize the nomination of political cronies

to the Board of Directors thereby keeping the Bank from exercising any truly independent

authority over its decision-making and operations. The Province wields this control over Banco

Provincia to achieve and implement the Province’s policies and political goals.

        a.      The Province’s Constitution, the Provincial Law Creating Banco Provincia
                and the Bank’s Charter Give the Province Exceptional Control over the Bank

        98.     Banco Provincia is not run like a true commercial bank. Instead, as set forth in its

public Mission Statement, Banco Provincia’s express goal is to drive the “economic and productive

development of the Province of Buenos Aires.”43 While this public function of Banco Provincia

as established in its Charter is not necessarily impermissible as an aspirational goal for

management, in practice the Bank is called upon to serve as far more than an independent

instrumentality free from Provincial interference.

        99.     The Bank is led by a Board of Directors who are appointed by the Province

consisting of one President and eight voting members. 44 Banco Provincia’s Board of Directors has

direct control over the operation of the Bank, contrary to the strategic role typically assigned to

directors of a private company. This direct role over operations is outlined in the Bank’s enacting

statute and the Charter, both of which task the Board with, among other things, approving,

establishing, authorizing, and regulating all the Bank’s transactions, services and expenses, as well

as any and all loans.45




43
     Sustainability Report 2023, BANCO PROVINCIA,
     https://www.bancoprovincia.com.ar/content/REPORTE_SOSTENIBILIDAD_2023_INGLES.pdf (last visited
     Sept. 25, 2024).
44
     Ex. 3 (Provincial Law 9434/79) at Art. 18; see also Ex. 4 (Charter) at Art. 18.
45
     See, e.g., Ex. 3 (Provincial Law 9434/79) at Art. 9; see also Ex. 4 (Charter) at Art. 9.


                                                 26
     Case 1:24-cv-08156-DEH-BCM                    Document 1           Filed 10/28/24   Page 27 of 43




         100.     Each voting member and the President of the Board of Directors must be “appointed

by the Executive Branch,” i.e., the Governor of the Province of Buenos Aires, and “the approval

of the Senate” of Buenos Aires is required. 46

         101.     The Governor’s appointment power is likewise reflected in the Constitution of the

Province at Article 144(18)(4), which gives the Governor the “power[]” to “appoint[], with the

agreement of the Senate . . . [t]he President and the directors of the Bank of the Province that

correspond to him to designate.”

         102.     Financial or economics experience is not a requirement for appointment to the

Board of Directors.

         103.     Members of the Bank’s board are persons exercising public functions under

Provincial law. For example, board members are subject to the same public office asset disclosure

regime that applies to other Provincial officials.

         104.     Consistent with the Province’s control of Banco Provincia, each of Banco

Provincia’s annual reports lists the authorities to which it answers. The first named “authorities”

in Banco Provincia’s most recent annual reports are Governor of the Province Axel Kicillof, Vice

Governor Veronica Maria Magario, and Cabinet Minster Carli Bianco.

         105.     In other words, the Bank acknowledges that it is not an independent instrumentality,

but rather takes instructions directly from the Province, and not just through the Province-

controlled Board of Directors.




46
     Ex. 3 (Provincial Law 9434/79) at Art. 18; see also Ex. 4 (Charter) at Art. 18.


                                                          27
   Case 1:24-cv-08156-DEH-BCM              Document 1        Filed 10/28/24   Page 28 of 43




               b.      The Province Appoints Board Members Who Use the Bank to Advance
                       the Executive Branch’s Politics and Policies

       106.    The Province uses the Board of Directors’ direct role in the Bank’s operations to

manipulate the Bank actions by appointing board members aligned with the Province’s interests.

While there is no issue per se with the Provincial government appointing board members as the

owner of the Bank, here, the Province uses that power to directly manage the Bank. Indeed, the

Province uses its appointment power to the Board of Directors to ensure it maintains control over

Banco Provincia, including not only its policies, but also its operations.

       107.    For example, Directors’ Resolution 856/23 granted a $19,998,627 loan—

denominated in Argentine pesos—to the Province on non-market terms. In practice, this enhanced

role—including the power to approve individual loans—allows the Province to cause the Directors

to force the Bank to accede to the financial demands of the Province.

       108.    Whenever a new Provincial Governor is elected, the Governor routinely appoints a

new Bank president who is politically aligned with his policies. Since at least 1999, each

Provincial Governor has appointed a new president of Banco Provincia after beginning their term.

Consistent with that practice, current Governor Axel Kicillof appointed Juan Cuattromo as Bank

President the same month Kicillof took office in 2019. This type of appointment power is

consistent with a government-controlled agency or instrumentality; it is inconsistent with the

notion of an entity that is separate and independent from the government.

       109.    Consistent with the Province’s refusal to allow the Bank to operate as an

independent commercial entity, board appointments are not based on aptitude or expertise but

rather political ideology and experience. Indeed, appointments to the Bank’s Board of Directors

are often a steppingstone to other political positions or act as favors that the Province gives to




                                                 28
   Case 1:24-cv-08156-DEH-BCM                Document 1     Filed 10/28/24      Page 29 of 43




political actors to encourage them to assist the Provincial government in implementing its political

goals both inside and outside of the Bank.

       110.    Although appointments as President and to the Board of Directors require

legislative approval under Banco Provincia’s Charter and Provincial law, reports indicate that in

practice governors ignore this corporate formality and appoint directors directly.

       111.    Historically, many members of Banco Provincia’s board serve or served in

government positions, including many with little obvious ties to the banking industry. Current and

former members of Banco Provincia’s board have served with the National Defense Commission,

the Ministry of Labor, the Constitutional Affairs and Justice Commission, and the Labor and

Health Commission. Members have also served as Undersecretaries for Political Affairs. Similar

ties between the government and Bank officials exist with respect to Bank Presidents. For example,

past presidents have served as Minister of Production (Martin Lousteau) and Provincial

Spokesperson (Gustavo Marangoni), among other positions.

       112.    Consistent with historical practice, most of the current members of the Board of

Directors have served in political positions prior to their appointment, including Juan M.

Cuattromo (President), a longtime political confidant of Governor Kicillof, who worked in the

Argentine Ministry of Economy and Public prior to becoming President of the Bank; Humberto A.

Vivaldo, who served as a Director Administration in the Ministry of Labor; Carlos Fernández, who

was a member of the Argentine National Congress and a Provincial senator; Sebastián Galmarini,

who was a senator of the Province and part of Governor Kicillof’s ruling coalition; Laura González,

who was and indeed still is a delegate of the Buenos Aires Ministry of Labor; Santiago Nardelli,

who was deputy of the Province of Buenos Aires, where he held a vice president position and

chaired various Provincial commissions; and Bruno Screnci Silva, who previously worked in the




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     Case 1:24-cv-08156-DEH-BCM                   Document 1          Filed 10/28/24         Page 30 of 43




government of the City of Buenos Aires where he served, first, as Undersecretary of Political

Affairs, and later, as a Government Minister.

         113.     A number of Governor Kicillof’s appointees are known cronies willing to advance

the Governor’s politics and policies. For example, the current President of the Board of Directors,

Juan Miguel Cuattromo, has been described as a “Kicillof soldier” and one of Governor Kicillof’s

most loyal supporters. This is particularly notable given Kicillof’s economic views and personal

politics. During his time as Finance Minister for the national government under Cristina Fernández

de Kirchner, Kicillof repeatedly rejected the notion that the government should honor its debts and

favored, and ultimately implemented, the nationalization of formerly private companies, including

Argentina’s national oil company, YPF S.A., to avoid contractual obligations. Indeed, as reported

in the New York Times, Kicillof was seeking to “assert greater state control over Argentina’s

economy.”

         114.     Appointments to the Board of Directors are also used as bargaining chips for

political gain—reflective of a governmental entity rather than one that is independent of it. For

example, in 2022, Governor Kicillof appointed Carlos Fernández, a member of the opposition

party Unión Civica Radical (Radical Civic Union), to the Board of Directors. According to reports,

this appointment came following a “negotiation that the Kicillof government had with the

[opposition party]” in return for the opposition voting for a law Kicillof favored. Similarly, on

June 24, 2024, local Argentine news outlet La Política Online reported that Kicillof was

considering offering a seat on the Bank’s Board of Directors to a member of a minority party in

return for the party voting in favor of a bill that Kicillof proposed. 47



47
     La Política Online, UN SECTOR DE LOS LIBERTARIOS PIDE UN ASIENTO EN EL BAPRO PARA APROBAR LA EMPRESA
     DE EMERGENCIAS DE KICILLOF (June 24, 2024), https://www.lapoliticaonline.com/provincia/un-sector-de-los-
     libertarios-pide-un-asiento-en-el-bapro-para-aprobar-la-empresa-de-emergencias-de-kicillof/.


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     Case 1:24-cv-08156-DEH-BCM                Document 1         Filed 10/28/24       Page 31 of 43




         115.    These appointments, and others, are consistent with Governor Kicillof’s

acknowledgment in a January 14, 2020 article published by Letra P that there is a tradition of

allocating Bank board positions to the opposition, and that he is “willing to accept that” tradition

if such appointments advanced Provincial prerogatives. 48

         116.    Governor Kicillof’s acknowledgement echoes findings of members of a 2002

Bicameral Commission of the Provincial Congress—created under Provincial Law 12,729 to

investigate the “uncollectable” loans that Banco Provincia granted to third parties affiliated with

government officials—that Banco Provincia’s board members were appointed based on political

loyalty or as tools for forging electoral alliances. Members of that Commission also found that

Banco Provincia had no real internal controls and instead answered to the Provincial Executive

and that the Bank would deviate from its established credit rules to fund election campaigns of the

governing party.

         117.    This politicization of board appointments continues to this day.

                 c.      The Province Forces Banco Provincia to Implement Government
                         Policies and Programs at the Bank’s Expense

         118.     Through its control of Banco Provincia, the Province uses the Bank to carry out its

economic policies and preferred social programs. To be clear, Banco Provincia is not an

independent instrumentality that is simply tasked by charter with advancing overarching policies

or general strategic goals and then left to its own devices in implementing those policies and goals.

Instead of allowing the Bank to set up its own programs as an independent instrumentality, the

Province dictates not only the creation, but also the operational details of numerous social

programs.


48
     Letra P, KICILLOF NO COMPLETA EL DIRECTORIO Y UN RADICAL PODRÍA PONER EN JAQUE AL BAPRO (Jan. 14, 2024),
     https://www.letrap.com.ar/nota/2020-1-14-11-13-0-kicillof-no-completa-el-directorio-y-un-radical-podria-
     poner-en-jaque-al-bapro.


                                                     31
   Case 1:24-cv-08156-DEH-BCM               Document 1       Filed 10/28/24       Page 32 of 43




       119.    The terms imposed by the Province on Banco Provincia are non-market and favor

the social objectives of the current Provincial government over sound business practices. Such

programs are not imposed on other banks operating in the Province.

       120.    The Province also uses Banco Provincia as a public relations tool to bolster the

government’s popularity and approval rating. The Province forces Banco Provincia to participate

in public events and to create special discounts that are designed to advance the Province’s political

goals, not the Bank’s business. These roles are not typical of an ordinary commercial bank nor an

independent instrumentality.

                i.     The Bank Runs the Province’s Economic and Development Programs

       121.    The Province controls the day-to-day operations of the Bank, not merely its high-

level policy objections, and has used Banco Provincia as a tool to advance its economic policies.

The Province directs Banco Provincia to create programs and credit lines at non-market rates to

further the political objectives of the current Provincial administration. The terms and conditions

of the programs and credit lines are crafted by the Province, or under the Province’s direction, and

are devoid of market or commercially reasonable benchmarks.

       122.    One such example of the Province’s programmatic control over Banco Provincia is

the creation and implementation of the Buenos Aires Rural Development Plan (“BARDP”).

BARDP coordinates actions of nine ministries of the Province and provides funding for various

Province-approved agro-industrial infrastructure projects. Under BARDP, the Bank has provided

tens of billions of pesos loans on non-market terms. For example, the Bank granted the loans with

interest rates significantly below market rates. In fact, the interest rates were so low that, because

of the country’s skyrocketing inflation, it was a near certainty that the loans would cause the Bank

to lose money on real terms. For example, at the instruction of the Province, the Bank charged

interest rates of 22% and 24% in 2021, which were significantly less than both the existing market


                                                 32
   Case 1:24-cv-08156-DEH-BCM               Document 1       Filed 10/28/24       Page 33 of 43




interest rate and inflation rate. As of August 2024, loans were offered with an annual interest rate

of 23% while the inflation rate was over 200% per year, nearly ten times more than the applicable

interest rate. The impact of these below-market rates was only exacerbated by the repayment terms,

which often do not require any payment for 48 or even 60 months, resulting in a sure loss for the

Bank but political gain for those in control of the Provincial government.

        123.    Similar to BARDP, the Province has also used the Bank to fund its Procampo

Digital initiative, a credit program introduced in 2023 allowing bank clients to manage their

purchase of various agricultural products. Procampo Digital allows customers to apply for loans

with fixed and preferential rates if the loan is being used for agriculture or farming, economic

sectors favored by the current Provincial administration. Like BARDP, Procampo Digital provides

loans at interest rates well below prevailing rates and then-levels of inflation, which includes rates

of just 17.5% in 2024. Again, these loans are non-market and uneconomic, ensuring that the Bank

will lose money on real terms even if the loans are repaid in a timely fashion.

        124.    In a July 22, 2023 Banco Provincia press release referring to the program launch,

the Bank’s president acknowledged as much. The press release stated that Procampo Digital was

“not a commercial idea, but a political decision of our Governor Axel Kicillof.” At the Province’s

direction, thousands of customers have received below-market financing through Procampo

Digital, and the Bank has extended the equivalent of tens of millions of U.S. dollars in money

losing loans as a result.

        125.    In yet another example of the Province’s control of the Bank, in September 2023,

Banco Provincia was specifically directed to use funds to provide non-market loans to teachers

and public-school employees at a loss to the Bank. These loans were offered with a fixed interest

rate of 60% and a repayment term of up to 36 months. These terms were well under the rate of




                                                 33
   Case 1:24-cv-08156-DEH-BCM                 Document 1      Filed 10/28/24     Page 34 of 43




inflation, which at the time was over 138%. As with so many other programs mandated by the

Province, these loans guaranteed that the Bank would lose money on real terms even if the loans

were repaid. When making the announcement for these loans, Governor Kicillof commended his

government’s efforts to return Banco Provincia to the service of ordinary citizens instead of, in his

terms, focusing too much on “financial speculation” and investments. The Province reiterated this

view in a September 20, 2023 press release confirming the governor’s statement.

              ii.          The Province Uses Banco Provincia to Bolster Its Popularity

       126.         The Province uses the Bank to bolster the government’s popularity through

programs devoid of economic justification or benchmarks and that are directed to consumers as

public relations tools for the Province.

       127.         One example of the Province using Banco Provincia as publicity for its own

political gain is the Cuenta DNI program. The Cuenta DNI program is a payment processing

program operated through the Bank that permits users to make contactless payments and bank

withdrawals. To increase political support, the Province often offers promotions and discounts

through Cuenta DNI. Promotions have included, for example, refunds for butchers, farms, and

fishmongers, and cashback payments on transactions using a Banco Provincia credit card. The

Province uses its day-to-day control over the Bank to increase the Province’s popularity at the

Bank’s expense.

       128.         Between July 2021 and December 2021, the Ministry of Treasury and Finance of

the Province of Buenos Aires provided approximately US$ 50 million to finance these promotional

offers. But since then, the discount and promotions programs implemented at the Province’s

direction have been paid for using funds taken directly from Banco Provincia.

       129.         Cuenta DNI has become a hallmark of Kicillof administration political marketing,

with more than eight million users as of November 2023. The Province takes funds from Banco


                                                   34
   Case 1:24-cv-08156-DEH-BCM               Document 1        Filed 10/28/24   Page 35 of 43




Provincia to fund the Cuenta DNI program and market the Provincial government favorably to

citizens. Instead of allowing the Bank to operate independently for its own gain, the Province uses

the Bank’s resources to market the government favorably to citizens.

       130.    The Province also routinely obliges Banco Provincia to participate in various public

expositions to market the Province’s political leadership to the people. For example, Banco

Provincia is mandated to attend Expoagro, an open-air agricultural exhibition organized by two

Argentine newspapers, at which the Bank bolsters the Provincial government by creating and

providing promotions, offers, and financing facilities while extolling the government’s role in

these programs. To that end, in Banco Provincia’s 2023 Sustainability Report, the Bank’s president

explained that Banco Provincia’s participation in Expoagro “derives from a political decision of

Governor Axel Kicillof, who required us to put Banco Provincia at the service of the entire

production of the province of Buenos Aires.” In other words, Banco Provincia’s participation is

nothing more than a way for the Provincial Government to expand and publicize its role in the

agricultural sector. It is not the act of an independent instrumentality.

               d.      The Province Uses Its Control of Banco Provincia to Address Financial
                       Crises

       131.    During times of economic crisis, the Province has regularly directed Banco

Provincia to bear the cost of the Province’s own social programming as well as the risk associated

with the Province’s lack of funds.

       132.    In 2020, the Province compelled Banco Provincia to step in and salvage the

Province’s social commitments in light of the COVID-19 pandemic. While the goal may have

been laudable, the implementation was not. For example, in September 2020, the Province

implemented its Alimentar Card as part of the Province’s efforts to provide money for food to those

in need. To fund the program, the Province passed Provincial Resolution No. 38/2020, which not


                                                 35
    Case 1:24-cv-08156-DEH-BCM              Document 1       Filed 10/28/24     Page 36 of 43




only directs Banco Provincia to serve as the financial agent for the program but also orders Banco

Provincia to absorb all expenses associated with the program’s operations and logistics

management.

        133.    And, when hard currency has been scarce due to the Province’s lack of liquidity,

the Province has directed Banco Provincia to accept alternative forms of repayment not accepted

by commercial banks. For example, Provincial Law 12,727 declared an economic emergency in

the Province and directed the Bank to accept special bonds issued by the Province known as

Patacones for the payment of all Provincial and municipal debts and obligations. Private banks

were not subjected to this requirement and could continue to demand that debts be satisfied with

currency instead of scrip.

        134.    Through these actions, and others like them, the Province uses the Bank’s balance

sheet for its own purposes without negotiation, contract or other regard for the Bank’s purported

independence.

        5.      It Would Be Unjust to Recognize Banco Provincia’s Purported Separate Status
                Here

        135.    The Province controls Banco Provincia.            The Bank is not an independent

instrumentality. Instead, the nominal distinction between the Province and Banco Provincia is one

of form, not substance, and serves only to aid the Province in improperly shielding its assets from

creditors like Plaintiffs.

        136.    It would be improper to allow the Province to continue to access U.S. financial and

legal markets through Banco Provincia while the Province uses the Bank’s purported independent

existence to shield assets from Plaintiffs and other creditors.

        137.    This is particularly true here given that Banco Provincia was directly involved in

the offering of the Notes that gave rise to the judgments in the 2021 Action and 2024 Action.


                                                 36
     Case 1:24-cv-08156-DEH-BCM             Document 1         Filed 10/28/24      Page 37 of 43




         138.     The Bank played several key roles in the issuance and maintenance of the Notes.

Banco Provincia served as local co-manager in Argentina for the offering of the Notes, served as

the Province’s agent tasked with collecting and ultimately transferring funds for payment on the

Notes into the United States, and served as the Province’s agent for service of process in the United

States for claims under the Notes’ Indenture. 49

         139.     As the Province’s financial agent, Banco Provincia is charged with servicing the

Province’s debts, including the Notes.50 It has failed to do so. Meanwhile, despite its refusal to

service the Province’s debts to Plaintiffs, Banco Provincia continues to use its correspondent bank

accounts in New York to conduct U.S. Dollar transactions on a regular basis, including to make

payments to holders of restructured notes that the Province issued in the hope that noteholders

would accept less beneficial terms than the existing Notes held by creditors such as the Province

in exchange for a renewed promise of payment.

         140.     Giving effect to Banco Provincia’s nominal separateness from the Province would

unjustly deprive Plaintiffs of the ability to recover the assets located in this District that, although

nominally held by Banco Provincia, are in fact controlled by the Province.

         141.     Allowing the Province to utilize Banco Provincia—an entity it totally dominates,

controls and directs for its own political purposes—to collect, hold, and spend the Province’s tax

and other revenue while at the same time it contends that Banco Provincia is a separate entity

would work a fraud or injustice upon the creditors of the Province. As long as the charade of

separateness persists, the Province is able to use the Bank to take advantage of New York’s banking

system and stable set of laws to move the Province’s money through New York without honoring

the debts that the Province incurred in New York and committed to pay back in New York.


49
     Supra ¶¶ 8, 57, 59.
50
     Supra ¶¶ 11, 44, 55.


                                                   37
     Case 1:24-cv-08156-DEH-BCM               Document 1      Filed 10/28/24     Page 38 of 43




          142.   Put simply, Banco Provincia’s finances are commingled with the Province’s

finances and it is the Province’s alter ego. As such, Plaintiffs’ judgments against the Province

should be declared enforceable against Banco Provincia.

                                           COUNT ONE
                                      (DECLARATORY RELIEF)

          143.   Plaintiffs repeat and reallege paragraphs 1 to 142 of this Complaint as set forth

herein.

          144.   While the Province and Banco Provincia claim to be independent juridical entities,

in reality, the Province and Provincial officials play an essential role in the management and

operations of the Bank.            The Province and current Provincial administration dictate the

composition of the Bank’s Board of Directors, 51 and direct the Bank’s day-to-day operations.52

The Province frequently obligates Banco Provincia to host and promote specific Provincial social

programs for political purposes, while leaving the Bank to shoulder the costs. 53 In addition to its

managerial hold, the finances of the Province and the Bank are intertwined and the Province uses

the Bank’s assets as its own. The Province exerts inordinate economic control over the Bank,

including by guaranteeing all of Banco Provincia’s obligations to third parties and annually

funding a significant portion of the Bank’s budget, thereby allowing the Province to treat the

Bank’s funds as its own.

          145.   The Province is the real beneficiary of the Bank’s actions. The profits and losses

of the Bank flow directly to the Province and the Province uses the Bank to further its political

goals without regard for the Bank’s independent economic existence. Banco Provincia serves as

the Province’s financial agent and is tasked with collecting taxes and other duties on the Province’s


51
     See supra ¶¶ 106–17.
52
     See supra ¶¶ 48–53; 121–25.
53
     See supra ¶¶ 118–25.


                                                   38
     Case 1:24-cv-08156-DEH-BCM              Document 1        Filed 10/28/24      Page 39 of 43




behalf, all without remuneration. 54 The Province also benefits by unilaterally restructuring its

purported “debt” to the Bank so that it can be repaid on favorable terms—essentially transferring

value from the Bank to the Province by reducing the value of the Bank’s assets to the detriment of

non-Provincial creditors—and by taking Bank property for the Provincial government’s use

without compensation.

         146.    A justiciable and actual controversy exists with respect to whether Banco Provincia

is an alter ego of the Province.

         147.    A declaratory judgment resolving this question is likely to prevent further harm to

Plaintiffs resulting from the Province’s abuse of Banco Provincia’s status as a sovereign

instrumentality through the shielding of assets from Plaintiffs and other creditors.

         148.    A declaratory judgment resolving this question is likely to clarify or settle the legal

rights of the parties to this action.

         149.    A declaratory judgment resolving this question is likely to terminate a source of

insecurity or controversy that brought about this action.

         150.    An instrumentality such as Banco Provincia is the alter ego of a sovereign political

subdivision when the sovereign controls the instrumentality so extensively that a principal-agent

relationship exists between them.

         151.    In particular, the Province (1) uses Banco Provincia’s property as its own;

(2) ignores Banco Provincia’s purported separate juridical status; (3) deprives Banco Provincia of

any independence from close political control; (4) subjects Banco Provincia to Provincial

approvals of business decisions; and (5) issues policies and directives that cause Banco Provincia

to act directly on behalf of the Province and contrary to its independent financial interests.



54
     See supra ¶¶ 54–60; 80–83.


                                                   39
   Case 1:24-cv-08156-DEH-BCM              Document 1       Filed 10/28/24      Page 40 of 43




          152.   An instrumentality such as Banco Provincia is also the alter ego of a sovereign

political subdivision when giving effect to the nominal separateness of the instrumentality would

work fraud or injustice.

          153.   Here, the Province completely controls Banco Provincia. The Province uses the

Bank as its proxy to collect and hold the Province’s tax and other revenues and to pay the

Province’s favored creditors, while at the same time evading its other lawful creditors by

maintaining the charade of separateness. Moreover, the nominal distinction between the Province

and Banco Provincia is regularly disregarded while serving to aid the Province in avoiding its

obligations under the respective judgments and shielding assets from creditors such as Plaintiffs.

The Province uses Banco Provincia to engage with and benefit from the New York banking system,

all while avoiding having the Province’s revenues applied to pay the Province’s legitimate creditors.

Giving effect to Banco Provincia’s nominal separation from the Province would unjustly deprive

Plaintiffs of the ability to recover assets located in New York that, although nominally held by

Banco Provincia, should be deemed to be assets of the Province.

          154.   Accordingly, Declaratory relief is authorized by 28 U.S.C. §§ 2201(a) and 2202.

                                  COUNT TWO
                     (MONEY JUDGMENT ON EXISTING JUDGMENT)

          155.   Plaintiffs repeat and reallege paragraphs 1 to 142 of this Complaint as set forth

herein.

          156.   On March 20, 2023, this Court entered judgment in favor of Plaintiffs in the 2021

Action. Judgment was entered against the Province in the amount of $15,627,333.04 in favor of

Plaintiff Glacial Capital, LLC and in the amount of $19,465,625.37 in favor of TRSE Holdings

LLC.

          157.   The judgment in the 2021 Action continues to accrue post-judgment interest.



                                                40
   Case 1:24-cv-08156-DEH-BCM               Document 1        Filed 10/28/24      Page 41 of 43




          158.   As the alter ego of the Province, Banco Provincia is liable for the Province’s

obligations.

          159.   Accordingly, Plaintiffs are entitled to judgment against Banco Provincia in the same

amount as the judgment entered against the Province, plus interest at the then-applicable post-

judgment interest rate under 28 U.S.C. § 1961 from March 20, 2023 to the date of entry.

                                 COUNT THREE
                     (MONEY JUDGMENT ON EXISTING JUDGMENT)

          160.   Plaintiffs repeat and reallege paragraphs 1 to 142 of this Complaint as set forth

herein.

          161.   On October 23, 2024, this Court entered judgment in favor of Plaintiffs in the 2024

Action. Judgment was entered against the Province in the amount of $55,037,270.85 in favor of

Plaintiff Glacial Capital, LLC and in the amount of $69,760,489.95 in favor of TRSE Holdings

LLC.

          162.   The judgment in the 2024 Action is accruing post-judgment interest.

          163.   As the alter ego of the Province, Banco Provincia is liable for the Province’s

obligations.

          164.   Accordingly, Plaintiffs are entitled to judgment against Banco Provincia in the same

amount as the judgment entered against the Province, plus interest at the then-applicable post-

judgment interest rate under 28 U.S.C. § 1961 from October 23, 2024 to the date of entry.

                                   COUNT FOUR
                      (FOR TURNOVER PURSUANT TO C.P.L.R. § 5225)

          165.   Plaintiffs repeat and reallege paragraphs 1 to 142 of this Complaint as set forth

herein.

          166.   Section 5225(b) of the C.P.L.R. states, in relevant part, that a court “shall require

a . . . person in possession or custody of money . . . in which the judgment debtor has an interest


                                                  41
     Case 1:24-cv-08156-DEH-BCM                 Document 1         Filed 10/28/24     Page 42 of 43




or . . . a person who is a transferee of money . . . from the judgment debtor . . . to pay the money,

or so much of it as is sufficient to satisfy the judgment, to the judgment creditor.” 55

         167.    Here, Plaintiffs are the holders of a final judgment that remains unpaid, and Banco

Provincia holds unencumbered funds belonging to the Province substantially in excess of what

Plaintiffs are owed.

         168.    Under the Indenture and other documents associated with the offering and issuance

of the Notes, the Province has expressly waived its sovereign immunity from execution. Any funds

that are not expressly reserved for an essential public service are thus subject to execution in

satisfaction of that Judgment.

         169.    Pursuant to Rule 69(a) of the Federal Rules of Civil Procedure and C.P.L.R. § 5225,

Plaintiffs respectfully request that the Court enforce Plaintiffs’ judgment against the Province by

issuing an order conveying, assigning, and directing the payment to Plaintiffs of all rights, title,

and interest of the Province in the funds held in the Province’s master account at Banco Provincia,

in such amount sufficient to satisfy Plaintiffs’ judgment.

                                        REQUEST FOR RELIEF

         Plaintiffs respectfully request a judgment:

                 a.       declaring, pursuant to 28 U.S.C. § 2201, that Banco Provincia is the alter

ego of the Province;

                 b.       adjudging Banco Provincia to be jointly and severally liable for the

judgment in the 2021 Action that has been awarded to Plaintiffs against the Province based on the

Province’s payment default;




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     See also Bernard v. Lombardo, 2016 WL 7377240, at *4 (S.D.N.Y. Nov. 23, 2016).


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     Case 1:24-cv-08156-DEH-BCM             Document 1       Filed 10/28/24      Page 43 of 43




               c.     adjudging Banco Provincia to be jointly and severally liable for the

judgment in the 2024 Action that has been awarded to Plaintiffs against the Province based on the

Province's payment default;

               d.     awarding money damages against Banco Provincia in the amount of

Plaintiffs' judgments in the 2021 Action and 2024 Action against the Province, together with post-

judgment interest;

               e.     directing Banco Provincia to turn over the contents of the Province's

Treasury account in an amount sufficient to satisfy the judgment in the 2021 Action;

               f.     awarding interest, costs, fees and other expenses associated with this action,

including reasonable attorneys' fees; and

               g.     any such other relief this Court deems just and proper.



Dated:   October 28, 2024



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                                                 Robert L.Weigel(rweigel@gibsondunn.com)
                                                 Jason W. Myatt Gmyatt@gibsondunn.com)
                                                 Nadia Alhadi (nalhadi@gibsondunn.com)
                                                 200 Park A venue
                                                 New York, NY 10166-0193
                                                 Telephone: (212) 351-4000

                                                 Miguel A. Estrada (mestrada@gibsondunn.com)
                                                 1700 M Street, N.W.
                                                 Washington, D.C. 20036-4504
                                                 Telephone: (202) 955-8500




                                                43
